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  (12) United States Patent                                                                           (10) Patent No.:                          US 9.292,066 B2
         King                                                                                         (45) Date of Patent:                               Mar. 22, 2016
  (54) CONFIGURING CABLE LINES TO PROVIDE                                                           2010/0205463 A1* 8/2010 Magnusson ................... T13,300
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  (75) Inventor: Benjamin John King, Dallas, TX (US)
                                                                                                                  FOREIGN PATENT DOCUMENTS
   73) Assignee:
           9.    BlackBerryy Limited, Waterloo, Ontario
                      (CA)                                                                     EP                       1158593 A1           11, 2001
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   *) Notice:         Subject to anyy disclaimer, the term of this                             WO                   200708.4428 A2            7/2007
                      patent is extended or adjusted under 35                                                              OTHER PUBLICATIONS
                      U.S.C. 154(b) by 1386 days.
                                                                                               European Search and Examination Report; EP Application No.
  (21) Appl. No.: 12/771.955                                                                   10161683.7; Jul. 21, 2010; 6 pgs.
                                                                                               Fischer, Daniel M.; U.S. Appl. No. 12/714.204; Title
  (22) Filed:         Apr. 30, 2010                                                            “Multifunctional Charger System and Method”; Filing Date: Feb.26,
                                                                                               2010; Specification 29 pages; 4 Drawing Sheets (Figs. 1-4).
  (65)                   Prior Publication Data                                                Canadian Office Action; Application No. 2,738,532; Jun. 15, 2012; 2
                                                                                               pageS.
         US 2011 FO271122 A1           Nov. 3, 2011                                            Canadian Office Action; Application No. 2,738,532; Nov. 17, 2014:
                                                                                               4 pages.
  (51) Int. Cl.                                                                                European Examination Report; Application No. 10161683.7; Jul. 17.
         G06F L/26                 (2006.01)                                                   2013; 6 pages.
                                                                                               Canadian Office Action; Application No. 2,738,532; Aug. 19, 2013;
  (52) U.S. Cl.                                                                                3 pages.
         CPC ........ G06F I/266 (2013.01); G06F 22 13/0038
                                                                  (2013.01)                    * cited by examiner
  (58) Field of Classification Search                                                          Primary Examiner — Thomas J Cleary
         CPC ............. G06F 1/18: G06F 1/26: G06F 1/266;
                G06F 1/32: G06F 13/00; G06F 13/40: G06F                                        (74) Attorney, Agent, or Firm — Conley Rose, P.C.; J. Robert
                                   13/42; G06F 2213/0038                                       Brown, Jr.
         USPC ............... 710/2, 8, 10, 14-16, 100, 300-302,                               (57)                                ABSTRACT
                                710/105-106; 713/300, 310,340
         See application file for complete search history.                                     A method is provided for an upstream device to configure a
                                                                                               plurality of lines in a cable. The method comprises the
  (56)                   References Cited                                                      upstream device placing a first Voltage on a first one of the
                                                                                               lines traditionally specified to supply power, the upstream
                  U.S. PATENT DOCUMENTS                                                        device grounding a second one of the lines traditionally speci
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                                                                                               fied to be a ground line; and the upstream device placing on a
   2008/0303486 A1* 12/2008 Kao et al. ...................... 320,139                          third one of the lines traditionally specified to convey data a
   2009 OO8291.0 A1  3, 2009 Sato                                                              second Voltage for Supplying power.
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                                                         1.                                                 120

                                                   Upstream                                             Downstream
                                                       Dewice                                             Dewice


                                                                             physical connection
                                                 210 -



                                                                                 handshake
                                                 220


                                                                            power profile request
                                                 230



                                                                                                                   was request
                                                                                                        24) -       honored

                                                                      if not honored, send request2
                                                 250



                                                                honorable
                                                 280 - request?
                                                                            set up power profile
                                                 270
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                   PIN NUMBER                         DESCRIPTION




                                                      DESCRIPTION
                                                          +5V
                                                           +5V


                                      Figure 1b

                   PIN NUMBER                         DESCRIPTION
                        1                                  +5V
                        2                                 +3.3V
                                                          +2.5V
                                                          ground
                                      Figure 1c

                   PIN NUMBER                         DESCRIPTION




                                      Figure 1d

                  PIN NUMBER                         DESCRIPTION
                       1                                 +5V



                                      Figure 1e

                  PIN NUMBER                         DESCRIPTION




                                      Figure 1.f
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                110                                                120


             Upstream                                           DOWnstream
              Device                                              Device


                                    physical Connection



                                        handshake




                                   power profile request



                                                                           was request
                                                                            honored?


                             if not honored, send request 2



                       honorable
                       request?


                                   set up power profile




                                        Figure 2
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                                                         310




                                       handshake         32O




                                         transmit        330
                                      profile request



                                      was request          340
                                        honored?




                                      receive power      350




                                        Figure 3
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                                       handshake         420




                                         receive         430
                                      profile request



                                        honorable          440
                                        request?



                                          set up         450
                                      power profile




                                        Figure 4
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                                                          510




                                                          520

                   optional


                                                          530




                                                          540
                                      profile request



                                        honorable           550
                                        request?



                                         Set up           560
                                      power profile




                                         Figure 5
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                1300
                  Y.

                                                          Network
            PROCESSOR                                   Connectivity
              (CPU)


   1310                                                     1320



                 RAM
    1330                   1->


                                                        Secondary         1350
                                         -Ha-D-          Storage



                 ROM




    1380-        DSP        -                 -->         I/O           1360




                            1370   u/

                                   Figure 6
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                                                       US 9,292,066 B2
                                1.                                                                   2
      CONFIGURING CABLE LINES TO PROVIDE                              present disclosure are provided below, the disclosed systems
               DATA AND POWER                                         and/or methods may be implemented using any number of
                                                                      techniques, whether currently known or in existence. The
                          BACKGROUND                                  disclosure should in no way be limited to the illustrative
                                                                      implementations, drawings, and techniques illustrated below,
     A USB (Universal Serial Bus) cable can provide an inter including the exemplary designs and implementations illus
  face between a host device and one or more peripheral trated and described herein, but may be modified within the
  devices, such as mobile telephones, personal digital assis Scope of the appended claims along with their full scope of
  tants, personal media players, cameras, printers, keyboards, equivalents.
  mice, and removable media drives. Such peripheral devices 10 Some downstream devices may have unique and/or chang
  may be also referred to as slave devices or downstream ing power requirements that would benefit from a power
  devices. The host device, which may also be referred to as a supply different from or in addition to the +5 Volt power
  master device or an upstream device, is typically a computer
  system Such as a personal computer. Alternatively, the host provided over traditional USB cables. Embodiments of the
  device could be an adapter that can plug into a wall outlet and 15 present disclosure provide for dynamically configuring
  provide power to a peripheral device.                               whether the lines of a USB-type cable carry data, power, or
     USB permits electronic devices to be attached to each both. For example, one line could be statically configured for
  other, automatically configured upon detection of their power, one line could be statically configured for ground, and
  attachment, and detached from each other while still in opera the remaining lines could be dynamically configured for data,
  tion. In other words, USB provides “hot-plugging support power, or both.
  that includes automatic configuration. The automatic con               As used herein, the terms “USB-type cable”, “USB-type
  figuration might include a handshaking procedure in which lines, and the like refer to cables, lines, and related compo
  the host device determines the speed and device class of the nents that comply with the form factors of the USB standards
  peripheral device. The host device might then load an appro but that do not necessarily comply with the USB standards
  priate device driver based on the class of the peripheral regarding whether data or power is carried on a conductor.
  device.                                                          25 Also, as used herein the term “power” refers to electrical
     A USB cable complying with USB standards 2.0 and lower energy that is primarily intended to Supply energy to a com
  comprises four conductors: two power lines (High and ponent, while the term “data refers to electrical energy that is
  Ground) and two data lines (D+ and D-). USB standard 3.0 primarily intended to convey information. In addition, as used
  includes four additional SuperSpeed data lines. FIG.1a illus herein, the terms “traditional', “traditionally, and the like
  trates the configuration of the lines in a USB standard 2.0- 30 refer to cables, lines, and related components as specified in
  compliant cable. As shown, pin 1 of such a cable is a +5 Volt the USB standards. Furthermore, while the discussion herein
  line, pin 2 is the D-line, pin 3 is the D+ line, and pin 4 is the focuses on USB and USB-type cables, the embodiments
  ground line. In any of the USB standards, the power that can described herein could apply to other types of cables and
  be delivered to a peripheral device over a USB cable might be connections.
  limited by the voltage and current capacity of the two power 35 More specifically, embodiments of the present disclosure
  lines.                                                              provide methods and mechanisms for using the traditional
                                                                      USB data lines (D+ and D-) in addition to the traditional USB
          BRIEF DESCRIPTION OF THE DRAWINGS                           power lines to provide power to a downstream device after a
                                                                      handshaking procedure with an upstream device. For
     For a more complete understanding of this disclosure, ref 40 example, the High power line might provide up to 200 milli
  erence is now made to the following brief description, taken amps (ma) at 5 volts in accordance with USB standards, and
  in connection with the accompanying drawings and detailed then after the handshake, D+ and/or D- might also be set to
  description, wherein like reference numerals represent like provide up to 200 ma at 5 volts. In another example, the
  parts.                                                              downstream device may comprise circuits that use power at 5
     FIG. 1 illustrates various possibilities for data and power 45 volts, other circuits that utilize power at 3.3 volts, and further
  on a USB-type cable, according to an embodiment of the circuits that utilize power at 2.5 volts, and power could be
  disclosure.                                                         provided at all three voltages. For instance, High could be set
     FIG. 2 illustrates a sequence diagram for a downstream to provide power at 5 volts and, after the handshake, D+ could
  device requesting power on a data line, according to an be set to provide power at 3.3 volts, and D- could be set to
  embodiment of the disclosure.                                    50 provide power at 2.5 volts. In other embodiments, other volt
     FIG. 3 illustrates a flowchart for a downstream device           ages could be used on D+ and D-.
  requesting power on a data line, according to an embodiment            In some cases, the downstream device may have separate
  of the disclosure.                                                  circuits that would benefit from separate power sources. In an
     FIG. 4 illustrates a flowchart for an upstream device receiv embodiment, separate charging circuits could be provided by
  ing a request for power on a data line, according to an embodi 55 using D+ and D- as separate power Supply lines. For
  ment of the disclosure.                                             example, the traditional High and the traditional Ground
     FIG. 5 illustrates a flowchart for an upstream device pro could be used to power one circuit of the downstream device
  viding options to a downstream device for power on a data and the traditional D+ and the traditional D- could be used to
  line, according to an embodiment of the disclosure.                 power a second circuit of the downstream device (i.e., D+
     FIG. 6 illustrates a processor and related components Suit 60 could act as a second High and D- could act as a second
  able for implementing the several embodiments of the present Ground).
  disclosure.                                                            Some downstream devices may require large Voltages. In
                                                                      an embodiment, large Voltages could be provided by provid
                    DETAILED DESCRIPTION                              ing negative Voltages on D+ and/or D-. That is, D+ and/or D
                                                                   65 have a negative polarity, while High has a positive polarity.
     It should be understood at the outset that although illustra For example, High could be set to provide positive 5 volts and
  tive implementations of one or more embodiments of the the traditional D+ could be set to provide negative 5 volts such
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  that the downstream device would see a difference of 10 volts      from the downstream device to place a Voltage on a traditional
  between High and D+. In such cases, the traditional D- might       data line, or if the upstream device is capable of understand
  be set to provide the same negative voltage as D+ or a different   ing the request but is not capable of placing a Voltage on a
  negative Voltage from that on D+. Alternatively, D- might be       traditional data line, then the request is ignored and data
  set to provide data.                                               communication may occur on the D+ and D-lines according
      FIGS. 1b-1 fillustrate examples of configurations of lines to the USB standards.
  in a USB-type cable according to the embodiments of the                FIG. 2 is a sequence diagram that illustrates this embodi
  present disclosure. It should be understood that the configu ment. At event 210, an upstream device 110 and a down
  rations shown in FIGS. 1b-1f are provided for illustrative stream device 120 are physically connected via a USB-type
  purposes only and that in other embodiments other Voltages 10 cable. At event 220, a standard USB handshake occurs. At
  could be provided. Also, the voltages could be provided on event 230, the downstream device 120 sends a power profile
  pins other than those shown. For example, where pin 2 is request to the upstream device 110. For example, the down
  shown as +5 Volts and pin 3 is shown as Ground, in other stream device 120 might request that the upstream device 110
  embodiments, pin 3 could be +5 Volts and pin 2 could be provide power on D+ and/or D-. At event 240, the down
  Ground. In addition, these examples apply to a USB-type 15 stream device 120 determines whether the request was hon
  cable that conforms to USB 2.0 and earlier form factors, but        ored. If the request was not honored, the downstream device
  it should be understood that similar principles could apply to      120, at event 250, might send a second power profile request.
  cables conforming to USB standards later than 2.0. Further The second power profile request might, for example, ask for
  more, only the Voltages are shown on the lines that provide a lower current capability than the first request. At event 260,
  power, but it should be understood that power might be sup the upstream device 110 determines that the request can be
  plied at various levels of current for any Voltage.                 honored. At event 270, the upstream device 110 provides the
      FIG. 1b illustrates one embodiment of a possible configu downstream device 120 with power with the requested power
  ration of the lines in a USB-type cable. In this embodiment, profile. Alternatively, the upstream device 110 might provide
  pins 1, 2, and 3 are all +5 Volts, and pin 4 is ground. This the downstream device 120 with power that does not exactly
  configuration might be used to provide a downstream device 25 conform to, but is reasonably close to, the requested power
  with three different 5 volt circuits that share a common            profile.
  ground. In FIG. 1c, pin 1 is +5 Volts, pin2 is +3.3 volts, pin 3       FIG. 3 is a flowchart that illustrates this embodiment from
  is +2.5 volts, and pin 4 is ground. In other embodiments, other the perspective of a downstream device. At block 310, a
  Voltages could be present on pins 2 and 3. This configuration physical connection is made between the downstream device
  might be used to provide a downstream device with three 30 and an upstream device via a USB-type cable. At block 320,
  different circuits, each using a different voltage. In FIG. 1d. a standard USB handshake occurs between the upstream
  pin 1 and pin2 are both +5 volts, and pin 3 and pin 4 are both device and the downstream device. At block 330, the down
  ground. This configuration might be used to provide a down stream device transmits a power profile request to the
  stream device with two separate circuits, each having its own upstream device. At block 340, the downstream device deter
  ground.                                                          35 mines whether the request was honored. If the request was not
      FIGS. 1e and 1 fillustrate configurations where a voltage honored, the flow might return to block 330, and the down
  greater than 5 volts may be needed by a downstream device.          stream device might send another power profile request. If the
  In both of these examples, pin 1 is +5 Volts and pin 2 is -5 request was honored, the downstream device, at block 350,
  volts, and therefore a voltage of 10 volts can be obtained receives power with the requested power profile.
  between pins 1 and 2. In FIG. 1e, pin 3 is -10 volts, and 40 FIG. 4 is a flowchart that illustrates this embodiment from
  therefore a voltage of 15 volts can be obtained between pins the perspective of an upstream device. At block 410, a physi
  1 and 3. In FIG. 1f. pin 3 is used for data.                        cal connection is made between the upstream device and a
      In an embodiment, a downstream device can control the           downstream device via a USB-type cable. At block 420, a
  settings of the power delivered by an upstream device. As an standard USB handshake occurs between the upstream
  example, after the handshake, the downstream device may 45 device and the downstream device. At block 430, the
  request a unique power setting from the upstream device by upstream device receives a power profile request from the
  sending a request via one or both of the traditional USB data downstream device. At block 440, the upstream device deter
  lines (D+ or D-). After receiving the request, and if the mines whether the request can be honored. If the request
  upstream device can handle the request (e.g., the downstream cannot be honored, the flow might return to block 430, and the
  device is not asking for Voltages or currents outside of the 50 upstream device might receive another power profile request
  upstream device's capability), the upstream device reconfig from the downstream device. If the request can be honored,
  ures the settings of the USB lines (any of High, Ground, D+, the upstream device, at block 450, sets up a power profile that
  and D-) in accordance with the downstream device's request. conforms with the power profile requested by the downstream
      For example, the downstream device might communicate a device. If the upstream device cannot provide the downstream
  power request via the D-line and request that the High and 55 device with power that exactly conforms to the requested
  D+ lines be set to provide up to 300 ma at 5 volts. If this power profile, the upstream device might provide power that
  voltage and this current are beyond the capability of the is reasonably close to the requested power profile.
  upstream device, the upstream device does not honor the                In an alternative embodiment, after the handshake, the
  request. After detecting that the power request was not hon upstream device provides the downstream device with
  ored, the downstream device may then send a different 60 options for the Voltages and currents that the upstream device
  request, e.g., that the High and D+ lines be set to provide up can provide on the traditional data lines (that is, on D+ and D
  to 200 ma at 5 volts. If this voltage and this current are within or on pins 2 and 3). The options might be provided in the form
  the capability of the upstream device, the upstream device of a menu of specific Voltage and current combinations that
  provides power at the requested Voltage and current levels. the upstream device can provide, and the downstream device
  Hence, the upstream device may provide unique power output 65 might select one of the menu items. Alternatively, the options
  based on a request from the downstream device. If the might be provided in the form of a set of ranges of Voltages
  upstream device is not capable of understanding the request and currents that the upstream device can provide, and the
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   downstream device might select a Voltage and a current that 1360. These components might communicate with one
   fall within the ranges. In other embodiments, the options another via a bus 1370. In some cases, some of these compo
   might be provided in other forms.                                nents may not be present or may be combined in various
      After receiving the options, the downstream device might combinations with one another or with other components not
   select a desired voltage and current for one or more of the shown. These components might be located in a single physi
   traditional data lines and inform the upstream device of the cal entity or in more than one physical entity. Any actions
   selection. The upstream device might then provide power on described herein as being taken by the processor 1310 might
   the traditional data lines at the selected Voltage and current be taken by the processor 1310 alone or by the processor 1310
   levels. If the downstream device is not capable of understand in conjunction with one or more components shown or not
   ing the offer of the options, or if the downstream device is 10 shown in the drawing. Such as a digital signal processor (DSP)
   capable of understanding the offer but does not wish to have 1380. Although the DSP 1380 is shown as a separate compo
   a Voltage placed on a traditional data line, then the offer is nent, the DSP 1380 might be incorporated into the processor
   ignored and data communication may occur on the D+ and 1310.
   D-lines according to the USB standards.                            The processor 1310 executes instructions, codes, computer
      FIG. 5 is a flowchart that illustrates this embodiment. At 15 programs, or scripts that it might access from the network
   block 510, a physical connection is made between an connectivity devices 1320, RAM 1330, ROM 1340, or sec
   upstream device and a downstream device via a USB-type ondary storage 1350 (which might include various disk-based
   cable. At block 520, a standard USB handshake occurs             systems such as hard disk, floppy disk, or optical disk). While
   between the upstream device and the downstream device. At only one CPU 1310 is shown, multiple processors may be
   block 530, the upstream device sends a power profile list to present. Thus, while instructions may be discussed as being
   the downstream device. For example, the upstream device executed by a processor, the instructions may be executed
   might transmit a menu, list, table, or ranges of Voltages and simultaneously, serially, or otherwise by one or multiple pro
   currents that it can provide on a traditional data line. The cessors. The processor 1310 may be implemented as one or
   downstream device might then choose an option from the more CPU chips.
   menu and send its choice to the upstream device in the form of 25 The network connectivity devices 1320 may take the form
   a power profile request. At block 540, the upstream device of modems, modem banks, Ethernet devices, universal serial
   receives the power profile request from the downstream bus (USB) interface devices, serial interfaces, token ring
   device. At block 550, the upstream device determines devices, fiber distributed data interface (FDDI) devices, wire
   whether the request can be honored. If the request cannot be less local area network (WLAN) devices, radio transceiver
   honored, the upstream device might optionally send the pro 30 devices such as code division multiple access (CDMA)
   file list to the downstream device again. The upstream device devices, global system for mobile communications (GSM)
   might then receive another power profile request from the radio transceiver devices, worldwide interoperability for
   downstream device. If the request can be honored, the microwave access (WiMAX) devices, digital subscriber line
   upstream device, at block 560, sets up a power profile that (xDSL) devices, data over cable service interface specifica
   conforms with the power profile selected by the downstream 35 tion (DOCSIS) modems, and/or other well-known devices for
   device.                                                          connecting to networks. These network connectivity devices
      In an embodiment, when power is being Supplied on a 1320 may enable the processor 1310 to communicate with the
   traditional data line on a USB-type cable, data might also be Internet or one or more telecommunications networks or
   provided on that traditional data line. In some cases, data and other networks from which the processor 1310 might receive
   power might be provided on a line simultaneously. In other 40 information or to which the processor 1310 might output
   cases, data and power might alternate on a line at specified information.
   time intervals.                                                    The network connectivity devices 1320 might also include
      Additionally, the downstream device might specify a one or more transceiver components 1325 capable of trans
   length of time for which a particular power configuration is to mitting and/or receiving data wirelessly in the form of elec
   be used. For example, the downstream device might request 45 tromagnetic waves, such as radio frequency signals or micro
   that, for five seconds, the upstream device should configure wave frequency signals. Alternatively, the data may
   the power output so that power is sent on all the USB-type propagate in or on the Surface of electrical conductors, in
   cable lines (e.g., High, D+, and D- are set to provide 5 volts coaxial cables, in waveguides, in optical media Such as opti
   at 100 ma and Ground remains neutral). After the 5 seconds, cal fiber, or in other media. The transceiver component 1325
   the upstream device may reset all the USB-type cable lines to 50 might include separate receiving and transmitting units or a
   their traditional operating modes and reinitiate the hand single transceiver. Information transmitted or received by the
   shake. At that point, the downstream device may request the transceiver component 1325 may include data that has been
   same or a different power output. For example, the down processed by the processor 1310 or instructions that are to be
   stream device might then request that High, D+, and D-be set executed by processor 1310. Such information may be
   to provide 3.3 volts at 100 ma. In this way, the downstream 55 received from and outputted to a network in the form, for
   device can use all of the USB cable lines for power and also example, of a computer data baseband signal or signal
   vary the output of that power.                                   embodied in a carrier wave. The data may be ordered accord
      The devices described above might include a processing ing to different sequences as may be desirable for either
   component that is capable of executing instructions related to processing or generating the data or transmitting or receiving
   the actions described above. FIG. 6 illustrates an example of 60 the data. The baseband signal, the signal embedded in the
   a system 1300 that includes a processing component 1310 carrier wave, or other types of signals currently used or here
   Suitable for implementing one or more embodiments dis after developed may be referred to as the transmission
   closed herein. In addition to the processor 1310 (which may medium and may be generated according to several methods
   be referred to as a central processor unit or CPU), the system well known to one skilled in the art.
   1300 might include network connectivity devices 1320, ran 65 The RAM 1330 might be used to store volatile data and
   dom access memory (RAM) 1330, read only memory (ROM) perhaps to store instructions that are executed by the proces
   1340, secondary storage 1350, and input/output (I/O) devices sor 1310. The ROM 1340 is a non-volatile memory device
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   that typically has a smaller memory capacity than the                          In another embodiment, a device is provided. The device
   memory capacity of the secondary storage 1350. ROM 1340 includes a processor configured such that the device dynami
   might be used to store instructions and perhaps data that are cally configures at least four lines in a cable to convey either
   read during execution of the instructions. Access to both data or power.
   RAM 1330 and ROM 1340 is typically faster than to second                       While several embodiments have been provided in the
   ary storage 1350. The secondary storage 1350 is typically present disclosure, it should be understood that the disclosed
   comprised of one or more disk drives or tape drives and might systems and methods may be embodied in many other spe
   be used for non-volatile storage of data or as an over-flow data cific            forms without departing from the spirit or scope of the
   storage device if RAM 1330 is not large enough to hold all 10 present disclosure. The present examples are to be considered
   working data. Secondary storage 1350 may be used to store limited           as illustrative and not restrictive, and the intention is not to be
   programs that are loaded into RAM 1330 when such pro elementstoorthecomponents               details given herein. For example, the various
                                                                                                            may be combined or integrated in
   grams are selected for execution.                                           another   system   or  certain features may be omitted, or not
      The I/O devices 1360 may include liquid crystal displays implemented.
   (LCDS), touch screen displays, keyboards, keypads, 15 Also, techniques, systems, Subsystems and methods
   Switches, dials, mice, track balls, Voice recognizers, card described and illustrated in the various embodiments as dis
   readers, paper tape readers, printers, video monitors, or other crete or separate may be combined or integrated with other
   well-known input/output devices. Also, the transceiver 1325 systems, modules, techniques, or methods without departing
   might be considered to be a component of the I/O devices from the scope of the present disclosure. Other items shown
   1360 instead of or in addition to being a component of the or discussed as coupled or directly coupled or communicating
   network connectivity devices 1320.                                          with each other may be indirectly coupled or communicating
      In an embodiment, a method is provided for an upstream through some interface, device, or intermediate component,
   device to configure a plurality of lines in a cable. The method whether electrically, mechanically, or otherwise. Other
   comprises the upstream device placing a first Voltage on a first examples of changes, Substitutions, and alterations are ascer
   one of the lines traditionally specified to supply power; the 25 tainable by one skilled in the art and could be made without
   upstream device grounding a second one of the lines tradi departing from the spirit and scope disclosed herein.
   tionally specified to be a ground line; and the upstream device
   placing on a third one of the lines traditionally specified to                 What is claimed is:
   convey data a second Voltage for Supplying power.                              1. A method for an upstream device to configure a plurality
                                                                            30 of lines in a cable, the method comprising:
      In another embodiment, an upstream device is provided.                      the upstream device placing a first Voltage on a first one of
   The upstream device includes a processor configured such                          the lines, the first one of the lines traditionally specified
   that the upstream device receives a request from a down                           to supply power,
   stream device for a Voltage and current configuration for a
   plurality of lines in a cable, and configured Such that the 35 thethe              upstream device grounding a second one of the lines,
                                                                                         second one of the lines traditionally specified to be a
   upstream device provides the requested Voltage and current                        ground line;
   configuration, the Voltage and current configuration compris                   the upstream device receiving a request from a downstream
   ing a first voltage on a first line of the plurality of lines, the first          device for a second Voltage, the second Voltage for Sup
   line traditionally specified to supply power; a ground level on                   plying power, on a third one of the lines, the third one of
   a second line of the plurality of lines, the second line tradi 40                 the lines traditionally specified to convey data; and
   tionally specified to be a ground line; and a second Voltage for               the upstream device placing on the third one of the lines the
   Supplying power on a third line of the plurality of lines, the                    second Voltage for Supplying power.
   third line traditionally specified to convey data.                             2. The method of claim 1, wherein the voltage on the third
      In another embodiment, a method is provided for a down line is the same as the Voltage on the first line.
   stream device to receive a plurality of Voltages on a plurality 45 3. The method of claim 1, wherein the voltage on the third
   of lines in a cable. The method comprises the downstream line is different from the voltage on the first line.
   device receiving a first voltage on a first one of the lines                   4. The method of claim 1, wherein the voltage on the third
   traditionally specified to Supply power, the downstream line is of a different polarity from the voltage on the first line.
   device regarding as a ground line a second one of the lines 50 5. The method of claim 1, wherein a fourth one of the lines
   traditionally specified to be a ground line; and the down traditionally                    specified to convey data is at least one of
                                                                                  configured to be grounded;
   stream device receiving on a third one of the lines tradition                  configured to be at a Voltage different from the Voltage on
   ally specified to convey data a second Voltage for Supplying
   power.                                                                            the third line; and
                                                                                  configured to convey data.
      In another embodiment, a downstream device is provided. 55 6. The method of claim 1, wherein the upstream device
   The downstream device includes a processor configured Such receives                   a request from the downstream device for a current
   that the downstream device requests a Voltage and current configuration for the third line, and the upstream device pro
   configuration for a plurality of lines in a cable, and configured vides the requested current configuration.
   such that the downstream device receives the requested volt                    7. The method of claim 6, wherein the request from the
   age and current configuration from an upstream device, the 60 downstream device includes a specification of a length of
   Voltage and current configuration comprising a first Voltage time for which the current configuration is to remain valid.
   on a first line of the plurality of lines, the first line traditionally        8. The method of claim 7, further comprising the upstream
   specified to Supply power, a ground level on a second line of device reconfiguring the third line to convey data after the
   the plurality of lines, the second line traditionally specified to length of time expires.
   be a ground line; and a second Voltage for Supplying power on 65 9. The method of claim 1, wherein the upstream device
   a third line of the plurality of lines, the third line traditionally provides a downstream device with a plurality of options for
   specified to convey data.                                                   a Voltage and current configuration of the third line, the
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   upstream device receives a selection of one of the options, and                   plying power, on a third one of the lines, the third one of
   the upstream device provides the selected configuration.                          the lines traditionally specified to convey data; and
      10. The method of claim 1, wherein the upstream device                      the downstream device receiving on the third one of the
   provides data and power on the third line in at least one of:                     lines the second Voltage.
      a simultaneous manner; and                                            5     23. The method of claim 22, wherein the voltage on the
      an alternating manner.                                                   third line is the same as the voltage on the first line.
      11. The method of claim 1, wherein the cable is a USB-type                  24. The method of claim 22, wherein the voltage on the
   cable.
      12. An upstream device, comprising:                                      third line is different from the voltage on the first line.
      a processor configured such that the upstream device 10 third line          25. The method of claim 22, wherein the voltage on the
         receives a request from a downstream device for a Volt line. is of a different polarity from the voltage on the first
         age and current configuration for a plurality of lines in a              26. The method of claim 22, wherein a fourth one of lines
         cable, and configured such that the upstream device traditionally                    specified to convey data is at least one of
         provides the requested Voltage and current configura
         tion, the Voltage and current configuration comprising a 15 configured to be grounded;
         first voltage on a first line of the plurality of lines, the first       configured to be at a Voltage different from the Voltage on
         line traditionally specified to supply power; a ground                      the third line; and
         level on a second line of the plurality of lines, the second             configured to convey data.
         line traditionally specified to be a ground line; and a                  27. The method of claim 22, wherein the downstream
         second Voltage for Supplying power on a third line of the device requests a current configuration for the third line and
         plurality of lines, the third line traditionally specified to the downstream device receives the requested current con
         convey data.                                                          figuration from the upstream device.
      13. The upstream device of claim 12, wherein the voltage                    28. The method of claim 27, wherein the downstream
   on the third line is the same as the voltage on the first line.             device requests the current configuration, wherein the current
      14. The upstream device of claim 12, wherein the voltage 25 configuration occurs for a specified length of time.
   on the third line is different from the voltage on the first line.             29. The method of claim 28, wherein the third line is
      15. The upstream device of claim 12, wherein the voltage reconfigured to convey data after the length of time expires.
   on the third line is of a different polarity from the voltage on               30. The method of claim 22, wherein the downstream
   the first line.                                                             device receives from the upstream device a plurality of
      16. The upstream device of claim 12, wherein the upstream 30 options for a Voltage and current configuration, the down
   device configures a fourth line of the plurality of lines, the stream device selects one of the options, the downstream
   fourth line traditionally specified to convey data, to be at least device informs the upstream device of the selection, and the
   one of:                                                                     downstream device receives the selected configuration from
      a ground line;                                                           the upstream device.
      a Voltage-carrying line; and                                          35    31. The method of claim 22, wherein the downstream
      a data-carrying line.                                                    device receives data and power on the third line in at least one
      17. The upstream device of claim 12, wherein the request of:
   from the downstream device includes a specification of a                       a simultaneous manner, and
   length of time for which the Voltage and current configuration                 an alternating manner.
   is to remain valid.                                                  40    32. The method of claim 22, wherein the cable is a USB
       18. The upstream device of claim 17, wherein the upstream type cable.
   device reconfigures the third line to convey data after the             33. A downstream device, comprising:
   length of time expires.                                                 a processor configured Such that the downstream device
       19. The upstream device of claim 12, wherein the upstream             requests a Voltage and current configuration for a plural
   device provides a downstream device with a plurality of 45                ity of lines in a cable, and configured such that the
   options for the Voltage and current configuration of the third            downstream device receives the requested Voltage and
   line, the upstream device receives a selection of one of the              current configuration from an upstream device, the Volt
   options, and the upstream device provides the selected con                age and current configuration comprising a first Voltage
   figuration.                                                               on a first line of the plurality of lines, the first line
      20. The upstream device of claim 12, wherein the upstream 50           traditionally specified to Supply power; a ground level
   device provides data and power on the third line in at least one          on a second line of the plurality of lines, the second line
   of:                                                                       traditionally specified to be a ground line; and a second
      a simultaneous manner; and                                             Voltage for Supplying power on a third line of the plu
      an alternating manner.                                                 rality of lines, the third line traditionally specified to
      21. The upstream device of claim 12, wherein the cable is 55           convey data.
   a USB-type cable.                                                       34. The downstream device of claim 33, wherein the volt
      22. A method for a downstream device to receive a plurality age on the third line is the same as the Voltage on the first line.
   of Voltages on a plurality of lines in a cable, the method              35. The downstream device of claim 33, wherein the volt
   comprising:                                                          age on the third line is different from the voltage on the first
      the downstream device receiving a first Voltage on a first 60 line.
         one of the lines, the first one of the lines traditionally        36. The downstream device of claim 33, wherein the volt
          specified to Supply power,                                    age on the third line is of a different polarity from the voltage
      the downstream device regarding as a ground line a second on the first line.
         one of the lines, the second one of the lines traditionally       37. The downstream device of claim 33, wherein a fourth
          specified to be a ground line;                             65 line of the plurality of lines, the fourth line traditionally
      the downstream device sending a request to an upstream specified to convey data, is at least one of
         device for a second Voltage, the second Voltage for Sup           configured to be grounded;
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                                11                                      12
     configured to be at a Voltage different from the Voltage on
        the third line; and
     configured to convey data.
     38. The downstream device of claim33, wherein the down
   stream device requests the Voltage and current configuration,
   wherein the Voltage and current configuration occurs for a
   specified length of time.
     39. The downstream device of claim 38, wherein the third
   line is reconfigured to convey data after the length of time
   expires.                                                     10
     40. The downstream device of claim33, wherein the down
   stream device receives from an upstream device a plurality of
   options for the Voltage and current configuration, the down
   stream device selects one of the options, the downstream
   device informs the upstream device of the selection, and the 15
   downstream device receives the selected configuration from
   the upstream device.
     41. The downstream device of claim33, wherein the down
   stream device receives data and power on the third line in at
   least one of:
     a simultaneous manner; and
     an alternating manner.
     42. The downstream device of claim 33, wherein the cable
   is a USB-type cable.
                                                                   25
